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         IN THE CIRCUIT COURT OF ST. FRANCIS COUNTY, ARKANSAS
                             CIVIL DIVISION


LARRY DONALD SCHULTE and                               )
MARY SCHULTE                                           )
               Plaintiffs,                             )
                                                       )      No. 62CV-2016~ j_:LJ___ _
v.                                                     )
                                                       )      JURY TIUAL DEMANDED
JAVIER VINA, and FE EXPRESS, LLC                       )
                  Defendants,                          )


                               COMPLAINT FOR DAMAGES


        COMES NOW the Plaintiff, Larry Donald Schulte and Mary Schulle and for their

I ':1mplaint against   Javier Vina and FE Express LLC, states as follows:

                          PARTIES, JURISDICTION AND VENUE

        1.      Plaintiffs Larry Donald Schulte and Mary Schulte were adult residents of

the State of Virginia at the time of the incident giving rise to this Complaint, and at all

:ime relevant hereto.

        2.      Javier Vina is an adult resident citizen of Grand Rapids, Michigan. He

may be served with process at his home address which is 6140 Woodfield Drive SE Apt

6., Grand Rapids, Ml 49648.

        3.      FE Express LLC, is a limited liability company, incorporated in the State

of Michigan. It may be served with process by serving its registered agent Fuad

Fcrhatovic at 4224 de! Mar DR SW, Wyoming, Michigan 49418. FE Express LLC is an

active motor freight carrier. doing business in multiple states, including the State of

Arkansas.
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       4.      The events giving rise to this Complaint occun-ed in St. Francis County,

Arkansas on IAO on November 13, 2013. Jurisdiction and venue arc proper in this Court.



                                          FACTS

        5.     The Plaintiffs were traveling west on 1-40 the morning of November 13 at

approximately 11 :26 a.m. Plaintiff Larry Schulte was driving n Chevrolet Tahoe, and

Mary Schulte was a passenger.

        6.     Defendant Vina was driving a 20 I 0 International Tractor with trailer

wdghing in excess of 10,000 lbs. The tractor trailer was owned by Defendant FE

Express LLC. It is believed that Javier Vina was operating the tractor trailer within the

scope of his employment, or agency, as a commercial driver for Defendant FE Express

u.c.
        7.     Defendant Vina wns driving the tractor trailer westbound on 1-40 and

approached Schulte's vehicle from behind. Defendant Vina failed to slow down or avoid

the Plaintiffs, and crashed into the rear right of Plaintiff Schultz's vehicle. The force of

the collision caused the Plaintiffs' vehicle to strike a separate automobile located in front

of the Plaintiffs. The Plaintiffs received injuries as a result of the collision and as

d"scribed below.

        8.     Defendant Vina drove his tractor trailer in a dangerous, negligent manner

in light of the circumstances existing prior to and at the time of the collision.




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                                                  CAUSES OF ACTION

                         9.     The Defendant, Javier Vina, was guilty of the following nets of conunon

                law negligence, each one of which was a direct and proximate cause of the injuries

                received by the Plaintiffs:

                         (a)    Driving too fast for the conditions and facts existing on the day, at the
                                time and location of the accident;
                         (b)    Failed to maintain a proper lookout;
                         (c)    Failed to maintain proper control of his vehicle;
                         (d)    Failed to proceed cautiously when the risk of proceeding under the
                                conditions was known;
                         (e)    Failing to act as a reasonable and prudent person under the circumstances
                                existing; and
                         (t)    Following too closely and failing to honor a vehicle having the right of
                                way

                         l 0.   Defendant, Javier Vina, is guilty of violating the following statutes of the

                state of Arkansas which were in full force and effect at the time of the accident, each one

                of which was passed to protect a class of persons including the Plaintiffs, said violations

                constituting negligence per se:

                         (a)    Arkansas Code § 27-51-104 Careless and prohibited driving;
                         (b)    Arkansas Code§ 27-51-201 Limitations generally;
                         (c)    Arkansas Code§ 27-50-308(a). Reckless driving;
                         (d)    Arkansas Code§ 27-51-305 Following too closely;
                         (c)    Arkansas Code§ 27-51-306 Overtaking vehicle; and
                         (i)    Arkansas Code§ 27-51-403 Signaling.


                         11.    Each one of the acts committed by Javier Vina of negligence per se was

                 the proximate cause and cause in fact of the injuries and damages sustained by the

                 Plaintiffs.

                         12.    Each one of the above acts of common law negligence was the cause in

                 fact and proximate cause of the injuries and damages suffered by the Plaintiffs.




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         13.   At all times relevant to the actions complained of in this Complaint, Javier

Vina was operating on behalf of FE Express LLC nnd was acting within the course and

scope of his employment or agency. All acts of negligence attributable to Javier Vina

shall be attributable to Defendant FE Express LLC.

                                        DAMAGES

         14.   The vehicle containing the Plaintiffs was forced into another vehicle due

to the force of the collision. Plaintiff Larry Schulte's suffered physical injuries, including

injury to his back, neck and head. As a direct and proximate result of each act of

negligence and violation of Arkansas statute complained of above, Larry Schulte suffered

dnmages as set forth below:

         A.     Plaintiff Larry Schulle has suffered the following injuries and damages:

                (a)    Physical pain and suffering, both past, present and future;
                (b)    Emotional pain and suffering, both past, present and future;
                (c)    Loss of the enjoyment of life;
                (d)    Extensive medical expenses, both past and future;
                (e)    Losl earnings and lost earning capacity; and
                (f)    All other damages available to him under the law.

         Plaintiff Mary Schultc's suffered physical injuries, including injury to her back

m~d neck. As a direct and proximate result of each act of negligence and violation of

Arkansas statute complained of above, Mary Schulte suffer'!d damages as set forth

below:

         A.     Plaintiff Mary Schulte has suffered the following injuries and damages:

                (a)    Physical pain and suffering, both pusl, present and future;
                (b)    Emotional pain and suffering. both past, present and foture;
                (c)    Extensive medical expenses, both pasl and future;
                (d)    Lost earnings and lost earning capacity; and
                (e)    All other damages available to him under the Jaw.




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                              VI. PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray:

       1.      For process to issue. requiring these Defendants to answer;

       2.      For a jury to be impaneled to try the disputed issues of fact;

       3.      For a judgment for compensatory damages to compensate them for their

injuries and damages in an amount to be detennined by the jury in excess of that required

for diversity jurisdiction in Federal Court; and

       4.      For any further and general relief to which the Plaintiff may be entitled.

PLAINTIFF DEMANDS A JURY TO TRY THE DISPUTED lSSUES OF FACT.



                                                      Respectfully submitted,

                                                      EASLEY & HOUSEAL, PLLC




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